Case 1:24-cv-11578-IT Document 1-1 Filed 06/18/24 Page 1 of 13




                                                                 Exhibit A
              Exhibit A
Case 1:24-cv-11578-IT Document 1-1 Filed 06/18/24 Page 2 of 13
Case 1:24-cv-11578-IT Document 1-1 Filed 06/18/24 Page 3 of 13
Case 1:24-cv-11578-IT Document 1-1 Filed 06/18/24 Page 4 of 13
Case 1:24-cv-11578-IT Document 1-1 Filed 06/18/24 Page 5 of 13
Case 1:24-cv-11578-IT Document 1-1 Filed 06/18/24 Page 6 of 13
Case 1:24-cv-11578-IT Document 1-1 Filed 06/18/24 Page 7 of 13
Case 1:24-cv-11578-IT Document 1-1 Filed 06/18/24 Page 8 of 13
Case 1:24-cv-11578-IT Document 1-1 Filed 06/18/24 Page 9 of 13
Case 1:24-cv-11578-IT Document 1-1 Filed 06/18/24 Page 10 of 13
Case 1:24-cv-11578-IT Document 1-1 Filed 06/18/24 Page 11 of 13
Case 1:24-cv-11578-IT Document 1-1 Filed 06/18/24 Page 12 of 13
Case 1:24-cv-11578-IT Document 1-1 Filed 06/18/24 Page 13 of 13
